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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

National Shopmen Pension

LERKS OFFICE
Fund, US. DISTRICT cour
Plaintiff(s),
Vv. Case No. 5:17-cv-10289-JEL-MKM
Hon. Judith E. Levy
Ally Financial Inc., et al., .
Defendant(s),

 

NOTICE OF REMAND
TO: OAKLAND COUNTY CIRCUIT COURT

Enclosed are certified copies of the Order of Remand and this Court's docket sheet.

Please acknowledge receipt of these documents by returning a time-stamped copy of this
Notice to:

omy, a
Clerk's Office ae =
U.S. District Court for the Eastern District of Michigan oA =
231 W. Lafayette Boulevard, 5th Floor a se

Detroit, Michigan 48226
(313) 234-5005

Certificate of Service

| hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.

DAVID J. WEAVER, CLERK OF COURT

By: s/D. Worth
Deputy Clerk

Dated: May 26, 2017
